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         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 18-1831V
                                      Filed: August 22, 2019
                                          UNPUBLISHED


    JADYN ROYLANCE,

                         Petitioner,                          Special Processing Unit (SPU);
    v.                                                        Ruling on Entitlement; Concession;
                                                              Table Injury; Human Papillomavirus
    SECRETARY OF HEALTH AND                                   (HPV) Vaccine; Shoulder Injury
    HUMAN SERVICES,                                           Related to Vaccine Administration
                                                              (SIRVA)
                        Respondent.


Lisa Annette Roquemore, Law Office of Lisa A. Roquemore, Rancho Santa Magarita,
CA, for petitioner.
Traci R. Patton, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

       On November 29, 2018, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered the Table Injury of SIRVA, standing
for shoulder injury related to vaccine administration or a SIRVA which was caused in
fact by the second Gardasil3 vaccine she received on January 12, 2017. Petition at 2,

1
 The undersigned intends to post this ruling on the United States Court of Federal Claims' website. This
means the ruling will be available to anyone with access to the internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such material from
public access. Because this unpublished ruling contains a reasoned explanation for the action in this
case, undersigned is required to post it on the United States Court of Federal Claims' website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management
and Promotion of Electronic Government Services).
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
3
 Gardasil is the name of the Human Papillomavirus 9-valent (“HPV”) vaccine manufactured by Merck.
See https://www.gardasil9.com (last visited Aug. 22, 2019).
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5. Petitioner further alleges that she received the vaccination in the United States, that
she suffered the residual effects of her injury for more than six months, that she
continues to suffer symptoms of her injury, and that she has not received a civil award
for her SIRVA. Id. at 5-6. The case was assigned to the Special Processing Unit of the
Office of Special Masters.

       On August 16, 2019, respondent filed his Rule 4(c) report in which he concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, respondent “has concluded that petitioner’s alleged injury is
consistent with SIRVA, as defined on the Vaccine Injury Table.” Id. at 6.

     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Nora Beth Dorsey
                                  Nora Beth Dorsey
                                  Chief Special Master




                                            2
